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                                                                                  January 19, 2022
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS

                      UNITED STATES DISTRICT COURT                      Michael Trujillo
                                                               BY: ________________________________
                        WESTERN DISTRICT OF TEXAS                                      DEPUTY
                               EL PASO DIVISION
______________________________________
                                          §
BRANDON CALLIER,                          §
                                          §
                        Plaintiff,        §
            v.                            §
                                          §    Case # 3:21-CV-00015-DCG
GOT LEADS 365, LLC, IRSHAD HASAN,         §
SMARTLEADS MEDIA, LLC, and MICHAEL §
GIANETTI                                  §
                        Defendants.       §
_______________________________________   §

                PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE

       The Plaintiff and Defendants have resolved their case. Plaintiff hereby requests the Court

dismiss the case against Defendants Got Leads 365, LLC, Irshad Hasan, Smartleads Media, LLC,

and Michael Gianetti with prejudice and close this action.

January 19, 2022                                    Respectfully Submitted



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